Case 1:11-cv-00908-RGA-MPT Document9 Filed 12/13/11 Page 1 of 7 PagelD #: 305

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

INTELLECTUAL VENTURES I LLC and
INTELLECTUAL VENTURES II LLC,

Plaintiffs,
Vv.
MOTOROLA MOBILITY, INC.,

Defendant.

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C.A. No. 11-908 (SLR)

MOTION AND ORDER FOR ADMISSION PRO HAC VICE

Pursuant to Local Rule 83.5 and the attached certifications, counsel moves for

admission pro hac vice of William H. Boice, Steven D. Moore and Jon R. Pierce of KILPATRICK

TOWNSEND & STOCKTON LLP, 1100 Peachtree Street, Suite 2800, Atlanta, GA 30309 and Alton

L. Absher, III of KILPATRICK TOWNSEND & STOCKTON LLP 1001 West Fourth Street, Winston-

Salem, NC 27101-2400, to represent Motorola Mobility, Inc. in this matter.

Morris, NICHOLS, ARSHT & TUNNELL LLP

See KH

ck/B. Blumenfeld (#1014)
1201 North Market Street
P.O. Box 1347
Wilmington, DE 19899
(302) 658-9200
jlumenfeld@mnat.com

 

Attorneys for Defendant
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ORDER GRANTING MOTION
IT IS HEREBY ORDERED that counsel’s motion for admission pro hac vice of William

H. Boice, Steven D. Moore, Jon R. Pierce and Alton L. Absher, III is granted.

Date:

 

United States District Judge
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CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this
Court, am admitted, practicing and in good standing as a member of the Bar of the
State of Georgia and pursuant to Local Rule 83.6 submit to the disciplinary
jurisdiction of this Court for any alleged misconduct which occurs in the
preparation or course of this action. I also certify that am generally familiar with
this Court’s Local Rules. In accordance with Standing Order for District Court
Fund effective 7/23/09, I further certify that the annual fee of $25.00 has been paid
[_] to the Clerk of Court, or, if not paid previously, the fee payment will be

submitted [X] to the Clerk’s Office upon the filing of this motion.

Date: December 13, 2011.

Wilko V dro

William H. Boice

Kilpatrick Townsend & Stockton LLP
1100 Peachtree Street, NE

Suite 2800

Atlanta, Georgia 30309

404 815 6500
bboice@kilpatricktownsend.com

 

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CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this
Court, am admitted, practicing and in good standing as a member of the Bar of the
State of Georgia and the Bar of the State of North Carolina and pursuant to Local
Rule 83.6 submit to the disciplinary jurisdiction of this Court for any alleged
misconduct which occurs in the preparation or course of this action. I also certify
that I am generally familiar with this Court’s Local Rules. In accordance with
Standing Order for District Court Fund effective 7/23/09, I further certify that the
annual fee of $25.00 has been paid [| to the Clerk of Court, or, if not paid
previously, the fee payment will be submitted [xX] to the Clerk’s Office upon the

filing of this motion.

Date: December 13, 2011.

NIN

Steven D. Moore

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CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this
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[_] to the Clerk of Court, or, if not paid previously, the fee payment will be

submitted [Xx] to the Clerk’s Office upon the filing of this motion.

Jon R. Pierce

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Date: December 13, 2011.

 

 

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CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

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preparation or course of this action. I also certify that | am generally familiar with
this Court’s Local Rules. In accordance with Standing Order for District Court
Fund effective 7/23/09, I further certify that the annual fee of $25.00 has been paid
[_] to the Clerk of Court, or, if not paid previously, the fee payment will be

submitted > to the Clerk’s Office upon the filing of this motion.

Date: December 12, 2011. fos

Alton L. Absher, III

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CERTIFICATE OF SERVICE
I hereby certify that on December 13, 2011, I caused the foregoing to be
electronically filed with the Clerk of the Court using CM/ECF, which will send notification of

such filing to:

Brian E. Farnan, Esquire
Rosemary J. Piergiovanni, Esquire
FARNAN LLP

I further certify that I caused copies of the foregoing document to be served on

December 13, 2011, upon the following in the manner indicated:

Brian E. Farnan, Esquire VIA ELECTRONIC MAIL
Rosemary J. Piergiovanni, Esquire

FARNAN LLP

919 North Market Street

Wilmington, DE 19801

Attorneys for Plaintiffs

Margaret Elizabeth Day, Esquire VIA ELECTRONIC MAIL
Ian N. Feinberg, Esquire

David L. Alberti, Esquire

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Palo Alto, CA 94301

Attorneys for Plaintiffs

Ways

Jack B. Blumenfeld (#1014)
